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                          IN THE UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

 VEROBLUE FARMS USA, INC.,                         §
                                                   §
         Plaintiff,                                §
                                                   §
 v.                                                §       Civil Action No. 3:19-CV-764-L
                                                   §
 LESLIE A. WULF; BRUCE A. HALL;                    §
 JOHN E. REA; KEITH DRIVER;                        §
 JAMES REA,                                        §
                                                   §
        Defendants/Counterplaintiffs.              §


                                AGREED PROTECTIVE ORDER

       Before the court is the parties’ Joint Motion for Entry of Protective Order (Doc. 111), Filed

May 30, 2019.         The court determines that the motion should be, and is hereby, granted.

Accordingly, pursuant to Federal Rule of Civil Procedure 26(c)(1), all Parties in the above-

captioned lawsuit (“Proceeding”) shall be governed by the following Protective Order (“Protective

Order”). The term “trial” as used herein shall refer to the final formal hearing of the Parties’ claims

and defenses before the court as well as any dispositive motions. The terms of this Protective Order

are as follows:

1.     Applicability. This Protective Order is applicable to the Parties, any additional parties

joined in this action, and any third parties required to respond to discovery in this matter or provide

initial disclosures, for the sole purpose of facilitating discovery and disclosures in the Proceeding.

2.     Scope of Use. All “Confidential” and “Confidential—Attorneys’ Eyes Only” information

produced or exchanged in the course of this Proceeding shall be used solely for the purpose of

preparation and trial, including mediation, and for no other purpose whatsoever, and shall not be

disclosed to any person except in accordance with the terms of this Protective Order.


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3.     Designation of Information. A party or a producing third-party may designate any

documents, testimony and other information furnished or disclosed to or by any other party or its

counsel during discovery, in disclosures, or in trial as “Confidential” or “Confidential—

Attorney’s Eyes Only” in the manner set forth in this Protective Order. In designating information

as “Confidential” or “Confidential—Attorney’s Eyes Only,” a party or a producing third-party will

make such designation only as to that information that it in good faith believes is confidential

information. Information or material which is available to the public shall not be classified as

confidential information.

4.     Additionally, the Parties and their attorneys and any future Parties and their attorneys in

the above-captioned matter are hereby authorized to receive, subpoena, disclose, and transmit

Confidential Information to the extent and subject to the conditions outlined herein.

5.     “Confidential” Designation. A party or any producing third-party may designate as

“Confidential” any document or any portion of a document, and any other thing, material,

testimony, or other information that it reasonably and in good faith believes contains or reflects

(a) proprietary, confidential, or commercially sensitive information; (b) private personal

information, including financial information; or (c) information that should otherwise be subject

to confidential treatment pursuant to applicable federal and/or state law. Designation of materials

as “Confidential” shall be conclusive as to the confidentiality of such materials, unless ordered

otherwise by the court.

6.     “Confidential—Attorney’s Eyes Only” Designation. A party or producing third-party

may designate as Confidential—Attorney’s Eyes Only” any document or portion of a document

and any other thing, material, testimony or other information, including trade secrets, that it

reasonably and in good faith believes is of such a commercially or competitively sensitive nature



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that disclosure to persons other than those specified herein in paragraph 13 could reasonably be

expected to result in injury. Designation of materials as “Confidential—Attorney’s Eyes Only”

shall be conclusive as to the confidentiality of such materials, unless ordered otherwise by the

court.

7.       Time Period for Protection. Except as otherwise provided below, any information,

document, data, thing, deposition testimony, or interrogatory answer produced, given, or served

pursuant to discovery requests in this litigation and designated by the producing party as

“Confidential” or “Confidential—Attorney’s Eyes Only” (the “Material”), or any specific

information contained in any of the foregoing Material, shall be subject to the provisions of this

Protective Order until further Order of this court.

8.       Document Production and Exhibits. The Material shall be designated as “Confidential”

or “Confidential—Attorney’s Eyes Only” by including a legend of “Confidential” or

“Confidential—Attorney’s Eyes Only” on each page thereof as to which confidentiality is claimed.

All copies of Material stamped ‘Confidential” or “Confidential—Attorney’s Eyes Only” also shall

be designated “Confidential” or “Confidential—Attorney’s Eyes Only.” Any mark made to

identify a document as “Confidential” or “Confidential—Attorney’s Eyes Only” shall be made so

as not to obscure any of the Material’s content. With respect to any Material designated

“Confidential” or “Confidential—Attorney’s Eyes Only” that is not produced in paper form (such

as diskettes, magnetic media, and other Material not produced in paper form) and that is not

susceptible to the imprinting of a stamp signifying its confidential nature, the producing party shall,

to the extent practicable, produce such Material with a cover labeled “Confidential” or

“Confidential—Attorney’s Eyes Only” and shall inform all counsel in writing of the




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“Confidential” or “Confidential—Attorney’s Eyes Only” designation of such Material at the time

such Material is produced.

9.       Documents Generated During Suit. All pleadings, motions, memoranda, briefs,

deposition transcripts, discovery requests and responses, exhibits, and other documents that

produce, paraphrase, summarize, or otherwise contain any specific information designated as

“Confidential” or “Confidential—Attorney’s Eyes Only,” if filed with the court, shall be filed

pursuant to the rules governing sealed documents, as set forth in CM/ECF procedures of the United

States District Court for the Northern District of Texas. Any courtesy copies served on the court

shall be filed in an envelope labeled with the caption of the suit, a description of the contents of

the envelope, the words “Confidential” or “Confidential—Attorney’s Eyes Only,” and the

following statement:

         “THIS ENVELOPE CONTAINS INFORMATION SUBJECT TO THE
         PROTECTIVE ORDER IN THIS LITIGATION, AND IS NOT TO BE OPENED
         NOR THE CONTENTS THEREOF DISPLAYED OR REVEALED EXCEPT BY
         THE COURT OR BY AGREEMENT OF THE PARTIES WHOSE
         CONFIDENTIAL INFORMATION IS CONTAINED WITHIN.”

For documents too voluminous to be easily filed within an envelope, those documents shall be

filed in a binder labeled with the caption of the suit, a description of the contents of binder, the

words “Confidential” or “Confidential—Attorney’s Eyes Only,” and the statement described

above.

10.      Depositions. Any party or deposed person or entity may designate a deposition or portion

thereof as “Confidential” or “Confidential—Attorney’s Eyes Only” Material by making such

designation on the record during the deposition or by denominating by page and line those

portions of the deposition which are to be considered “Confidential” or “Confidential—

Attorney’s Eyes Only” within ten (10) business days of receiving the final transcript and exhibits

and so informing all other parties of such designation. Until the period to designate deposition
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testimony as “Confidential” or “Confidential—Attorney’s Eyes Only” has passed, the deposition

transcript shall be treated as “Confidential—Attorney’s Eyes Only.” Any portion of a deposition

so designated shall not be filed with the court, except in accordance with paragraph 10 of this

Protective Order. Notwithstanding the above, persons attending depositions by agreement of the

Parties must leave the room before any discussion of any “Confidential” or “Confidential—

Attorney’s Eyes Only” Material that the person is not entitled to review under the provisions of

this Protective Order.

11.    Restrictions on Use of Confidential Material. Except as agreed by the designating party

or its counsel or as otherwise provided herein, information designated as “Confidential” or

“Confidential—Attorney’s Eyes Only”:

       a.      Shall be maintained in confidence by the party or counsel to which it is furnished;

       b.      May be disclosed by such party or counsel only to Authorized Persons entitled to

               access thereto under paragraphs 12 and 13 below;

       c.      May be used by such party or counsel and the Authorized Person to whom it is

               disclosed only for the purposes of this Proceeding and for no other purpose; and

       d.      May be photocopied or reproduced only as reasonably necessary for this

               Proceeding.

Nothing herein shall prevent disclosure beyond the terms of this Protective Order if the party

designating the information as “Confidential” or “Confidential—Attorney’s Eyes Only” consents

in writing to such disclosure. Nor shall anything herein prevent any pro se party or counsel of

record from utilizing “Confidential” or “Confidential—Attorney’s Eyes Only” information in the

examination or cross-examination of any person who is identified on the documents or otherwise

as being an author, source or recipient of the “Confidential” or “Confidential—Attorney’s Eyes



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Only” information, or any designated representative who testifies on a subject matter that includes

“Confidential” or “Confidential—Attorney’s Eyes Only” information, irrespective of who

produced such information.

12.    Authorized Users of Confidential Materials. Except as agreed by the designating party

or its counsel or as otherwise provided herein, “Confidential” Material subject to this Protective

Order or extracts or summaries or specific information therefrom shall not be given or shown to

any person except the following:

       a.      In-house counsel and outside attorneys of record for any party engaged in the

               litigation of this Proceeding and the regular employees of such attorneys to whom

               it is necessary that the material be shown for purposes of this litigation.

       b.      Any pro se individual party.

       c.      Any individual party and employees, officers, directors, and managers of a

               corporate party actively engaged in assisting that party’s attorneys in the conduct

               of this litigation, to the extent reasonably necessary to enable the attorneys for that

               party to render professional services in the litigation.

       d.      Persons not owners, officers, directors, managers, shareholders or employees of any

               party who are expressly retained to assist such party’s counsel (“Retaining

               Counsel”) in the preparation of this Proceeding for trial including, but not limited

               to, consulting and testifying experts, independent auditors, accountants,

               statisticians, economists, and other experts, and the employees of such persons

               (“Outside Experts”), after such Outside Expert has signed and delivered to

               Retaining Counsel a statement in the form annexed hereto as Exhibit A.




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       e.      A party’s outside copy/document preparation service, which includes any e-

               discovery consultants and trial consultants.

       f.      The court, other court officials (including court reporters), and the trier of fact,

               pursuant to a sealing order.

       g.      Any other person who subsequently is designated by (i) written agreement of all

               the Parties after a request by one of them or (ii) by order of the court upon motion

               by a party, after notice to all the Parties.

No person allowed to view “Confidential” Material shall use any “Confidential” Material for any

purpose except as needed solely in connection with or to assist in the prosecution or defense of the

claims between the Parties in this Proceeding, and each person shall make best efforts necessary

to protect confidentiality of the material.

13.    Authorized Users of “Confidential—Attorney’s Eyes Only” Material. Except as agreed

by the designating party or its counsel or as otherwise provided herein, “Confidential— Attorney’s

Eyes Only” Material subject to this Protective Order, or extracts or summaries therefrom, shall not

be given or shown to any person except the following:

       a.      Outside attorneys of record for any party engaged in the litigation of this Proceeding

               and the regular employees of such Outside attorneys to whom it is necessary that

               the material be shown for purposes of this Proceeding.

       b.      Any pro se individual party.

       c.      Persons not owners, officers, directors, managers, shareholders or employees of any

               party who are expressly retained to assist such party’s counsel (“Retaining

               Counsel”) in the preparation of this Proceeding for trial including, but not limited

               to, consulting and testifying experts, independent auditors, accountants,



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               statisticians, economists, and other experts, and the employees of such persons

               (“Outside Experts”), after such Outside Expert has signed and delivered to

               Retaining Counsel a statement in the form annexed hereto as Exhibit A.

       d.      A party’s outside copy/document preparation service, which includes any e-

               discovery consultants and trial consultants.

       e.      The court, other court officials (including court reporters), and the trier of fact,

               pursuant to a sealing order.

       f.      Any other person who subsequently is designated by (i) written agreement of all

               the Parties after a request by one of them or (ii) by order of the court upon motion

               by a party, after notice to all the Parties.

       No person allowed to view “Confidential—Attorney’s Eyes Only” Material shall use any

“Confidential Attorney’s Eyes Only” Material for any purpose except as needed solely in

connection with or to assist in the prosecution or defense of the claims between the Parties in this

Proceeding, and each person shall make best efforts necessary to protect the confidentiality of the

Material. Nothing in the Protective Order is intended to prevent a party or its employees from

reviewing the party’s own “Confidential” or “Confidential—Attorney’s Eyes Only” Material.

14.    Disclosure to Unauthorized Persons. If counsel wishes to disclose “Confidential” or

“Confidential—Attorney’s Eyes Only” Material to any person not designated in paragraph 12 or

13 above, they must proceed in the following manner: the names of the persons to whom

“Confidential” or “Confidential—Attorney’s Eyes Only” Material is to be disclosed, a description

of the Material to be disclosed to such person and a brief statement of the person’s connection to

the case shall be provided in writing to lead counsel for all Parties and to individual pro se Parties

fourteen (14) days in advance of disclosure to afford an opportunity to object to disclosure. If no



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objection is made within the 14-day period, disclosure to such named persons may be made after

the expiration of such 14-day period. If an objection is made within the 14-day period, the party

proposing the disclosure must seek an order from the court to allow the proposed disclosure, and

such Material shall not be disclosed pending a decision by the court on such motion. Any person

who becomes authorized to receive “Confidential” or “Confidential—Attorney’s Eyes Only”

Material pursuant to this paragraph (whether such authorization arises from the lack of an objection

or from the court’s ruling on a motion for disclosure) shall, prior to the receipt of Material, execute

and deliver to counsel a statement in the form annexed hereto as Exhibit A. Disclosures made to

all persons to whom disclosures are permitted hereunder shall be made subject to and in accordance

with the terms of this Protective Order.

15.    If a party or its counsel receives a discovery request, subpoena, or order of any court or

other tribunal in another case or proceeding for materials designated as “Confidential” or

“Confidential-Attorney’s Eyes Only” in this Proceeding, the party receiving the request for such

materials shall (a) within three (3) business days of the receipt of such request or demand, and

prior to responding to the request or demand, notify counsel for the party or the individual pro se

party whose material is sought in writing and by providing a copy of the request or demand; (b)

provide a reasonable time for the party whose material is sought to seek to protect its material from

disclosure prior to producing or disclosing the requested information; and (c) provided that the

party whose material is sought makes a timely motion or other application for relief from the

request or demand in the appropriate forum, the party receiving the request or demand shall not

produce or disclose the requested information without written consent of the party whose material

is sought or until ordered by a court of competent jurisdiction to do so.




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 16.   Challenging Designation. If any party believes that any Material that has been designated

 “Confidential” or “Confidential—Attorney’s Eyes Only” should not be subject to this Protective

 Order, that party must notify the producing party in writing and provide a description of the

 Material which the objecting party believes should be freed from the constraints of this

 Protective Order, and serve copies of such notice to all other Parties herein. Counsel shall confer

 in good faith in an effort to resolve any dispute concerning such designation. If the objection

 cannot be resolved by agreement within twenty (20) days from the date of service of the written

 objection, the producing party shall make motion to the court for an order confirming that the

 information at issue is subject to this Protective Order. The party asserting the “Confidential” or

 “Confidential—Attorney’s Eyes Only” designation shall have the burden of showing why such

 information is entitled to confidential treatment. If such a motion is filed on or before the 20th

 day after the date of service of the written objection, the protection afforded by the Protective

 Order shall continue until the court makes a decision on the motion. Failure of the producing

 party to file a motion within that time shall be deemed a waiver of the designation of the

 challenged material.

17.    Use of Confidential Material at Trial. In the event that any “Confidential” or

“Confidential—Attorney’s Eyes Only” Material is used at trial, or in any dispositive or discovery

motion or in any hearing in this Proceeding, it shall not lose its confidential status through such

use, and the party using such shall take all reasonable steps to maintain its confidentiality during

such use, including without limitation, requesting that the court exclude non-parties from the

courtroom or seal any transcript with respect to such trial or hearing.

18.    No Waiver. The Protective Order shall not be deemed a waiver of:

       a.      Any right to object to any discovery requests on any ground;



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       b.      Any right to seek an order compelling discovery with respect to any discovery

               request;

       c.      Any right to object to the admission of any evidence on any ground;

       d.      Any right for a party to use its own documents and its own “Confidential” or

               “Confidential—Attorney’s Eyes Only” material in its sole and complete discretion;

               or

       e.      The status of any material as a trade secret.

19.    Inadvertent Disclosure. The inadvertent or unintentional designation or production of

documents containing, or other disclosure of, confidential information without being designated

as “Confidential” or “Confidential—Attorney’s Eyes Only” at the time of designation, production,

or disclosure shall not be deemed a waiver in whole or in part of a claim of confidentiality or

secrecy, either as to the specific information or as to any other information relating thereto or on

the same or related subject matter. Any inadvertent designation or disclosure shall be corrected as

soon as reasonably possible after the producing party becomes aware of the error. The production

of documents or other tangible things pursuant to a request for production by a party herein shall

not be deemed a waiver of any right by the producing party to object to the admissibility of such

document or other thing on grounds of relevancy, materiality, privilege or other valid ground of

objection.

20.    Responsibility of Counsel. Counsel for the Parties or pro se individual parties to whom

“Confidential” or “Confidential—Attorney’s Eyes Only” Material has been furnished shall be

responsible for restricting disclosure in accordance with the provisions of this Protective Order

and for securing execution of and retaining the statement attached hereto as Exhibit A as and when

required under the provisions of this Protective Order.



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21.    Modification of Order. This Protective Order may be modified or amended either by

written agreement of the Parties or by order of the court upon good cause shown. No oral waivers

of the terms of this Protective Order shall be permitted between the Parties. Any written

agreements between the Parties to modify or amend this Protective Order shall be in the form of a

written amendment that shall be submitted to the court for approval.

22.    Third-party Material. To the extent that the Parties produce documents received from

third parties that have been designated by third parties as “Confidential” or “Confidential—

Attorney’s Eyes Only,” such documents shall be treated as “Confidential” or “Confidential—

Attorney’s Eyes Only” in accordance with the terms of this Protective Order and any deposition

testimony concerning the contents of such documents shall likewise be treated as “Confidential”

or “Confidential—Attorney’s Eyes Only” in accordance with the terms of this Protective Order.

23.    Conclusion of Proceeding. The provisions of this Protective Order shall continue in

effect with respect to any “Confidential” or “Confidential—Attorney’s Eyes Only” Material until

expressly released by the party furnishing such Material, and such effectiveness shall survive the

final determination of this action. Within sixty (60) days of the final determination of this action,

including any appeal, all “Confidential” or “Confidential—Attorney’s Eyes Only” Material,

including all copies, derivations and summaries thereof, shall be either (a) returned to the

disclosing party; or (b) destroyed or deleted, with a written certification provided to the disclosing

party. This paragraph includes the return or destruction or deletion of documents provided to any

Authorized Person, including Outside Experts. However, counsel of record are permitted to retain

a copy of their attorney file, including attorney work product, which may contain “Confidential”

or “Confidential—Attorney’s Eyes Only” Material. For purposes of this Protective Order, the

“final determination of this action” shall be deemed to be the later of (i) full settlement of all



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claims asserted in this Proceeding; (ii) final judgment herein after the completion and exhaustion

of all appeals, rehearings, remands, trials and reviews, if any, of this Proceeding; or (iii) the

expiration of all time limits under federal law for the filing of or application for all appeals,

rehearings, remands, trials or reviews of this Proceeding, including the time limits for the filing

of any motions or applications for extension of time pursuant to applicable law. This court retains

and shall have continuing jurisdiction over the Parties and recipients of Confidential Information

for enforcement of the provisions of this Protective Order following termination of this

Proceeding.

24.    Amendments. Nothing herein shall prevent the court from sua sponte altering the terms of

this Protective Order.

       It is so ordered this 31st day of May, 2019.


                                                      _________________________________
                                                      Sam A. Lindsay
                                                      United States District Judge




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                     EXHIBIT A - CONFIDENTIALITY AGREEMENT

1.     I am familiar with and agree to be bound by the terms of the Protective Order in Civil

Action No. 3:19-cv-00764-L, VeroBlue Farms USA Inc. v. Leslie A. Wulf, et al., pending in the

United States District Court for the Northern District of Texas, Dallas Division.

2.     I will only make such copies of or notes concerning “Confidential” or “Confidential—

Attorney’s Eyes Only” Material as are necessary to enable me to render the assistance required in

connection with this Proceeding, and, all such notes and copies shall be preserved in a separate file

maintained as confidential and marked for disposal or destruction upon completion of this

Proceeding. Upon the final determination of this Proceeding, I shall promptly destroy all

“Confidential” or “Confidential—Attorney’s Eyes Only” Material provided to me as well as any

notes or derivations thereof.

3.     I will not intentionally reveal the contents of “Confidential” or “Confidential—Attorney’s

Eyes Only” Material to any unauthorized person. I will not intentionally use “Confidential” or

“Confidential—Attorney’s Eyes Only” Material for any purpose other than the prosecution or

defense of claims in this action.

4.     I understand that failure to comply with the terms of the Protective Order may be

punishable by contempt of court and may result in civil liability to any party or person damaged

thereby. I consent to the jurisdiction of the United States District Court for the Northern District

of Texas (without any time limit) for the purpose of enforcing the Protective Order.


         DATED this ______ day of ___________________, 20____.


                                              BY: _____________________________________
                                                  Signature

                                                   ______________________________________
                                                    Print Name




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